583 F.2d 212
    Albert L. LIPSCOMB et al., Plaintiffs-Appellants-Appellees,v.The Honorable Wes WISE, Mayor of the City of Dallas, et al.,etc., Defendants-Appellees,v.Adelfa B. CALLEJO et al., Intervenors-Appellants.
    No. 75-2605.
    United States Court of Appeals,Fifth Circuit.
    Nov. 6, 1978.
    
      Sylvia M. Demarest, Dallas Legal Services Foundation, Inc., Dallas, Tex., Edward B. Cloutman, III, James A. Johnston, Walter L. Irvin, George Solares, Frank P. Hernandez, Dallas, Tex., for A. B. Callejo, et al.
      Lee E. Holt, City Atty., Joseph G. Werner, Lois Bacon, Dallas, Tex., for defendants-appellees.
      Appeal from the United States District Court for the Northern District of Texas.
      On Remand from the Supreme Court of the United States.
      Before TUTTLE, GOLDBERG and CLARK, Circuit Judges.
      PER CURIAM:
    
    
      1
      The judgment of this Court, based on our conclusion that the Dallas city council reapportionment plan was a court-devised, rather than a "legislative" plan, has been reversed by the Supreme Court, Wise v. Lipscomb, --- U.S. ----, 98 S.Ct. 2493, 57 L.Ed.2d 411 (1978).  In its order of remand, the Court stated "the impact of the Voting Rights Act on the city ordinance and on the Charter amendment approved by referendum will be open on remand, and we deem it appropriate for the Court of Appeals to deal with these questions."
    
    
      2
      This Court invited counsel for the respective parties to file briefs "touching on these questions."  By their several responses, the parties have consented to the entry of an order of this Court to the effect "that this requirement of Section 5 of the Voting Rights Act did apply to the legislative enactments of the City of Dallas; that the issue of preclearance is not rendered moot by the city's resolving to seek a declaratory judgment under Section 5; and that this matter should be remanded to the district court for any further relief necessary, including but not limited to the issue of appellants' attorneys fees and costs."
    
    
      3
      IT IS SO ORDERED.
    
    
      4
      The case is REMANDED to the district court for further proceedings not inconsistent with the opinion of the Supreme Court and of this Order.
    
    